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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:08cr227-MHT
JUANETTA L. MOORE                  )            (WO)

                               JUDGMENT

    It is the ORDER, JUDGMENT, and DECREE of the court

that the motion to dismiss indictment (Doc. No. 68) is

granted   and    that    the    indictment       against     defendant

Juanetta LaChelle Moore is dismissed without prejudice.

    DONE, this the 12th day of June, 2009.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
